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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

            v.                                          Crim. No. 19-CR-00018 (ABJ)

 ROGER J. STONE, JR.,

                 Defendant.


         GOVERNMENT’S NOTICE REGARDING IN CAMERA SUBMISSION

       The United States of America, by and through Jessie Liu, United States Attorney for the

District of Columbia, hereby gives notice that, on May 13, 2019, the government provided a copy

of the materials identified in the Court’s May 9 minute order to chambers ex parte and in camera.




                                                    Respectfully submitted,

                                                    JESSIE K. LIU
                                                    U.S. Attorney for the District of Columbia

                                                    By:    /s/
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